              Case 19-34680-KRH                           Doc 14           Filed 09/25/19 Entered 09/25/19 13:50:33                                                  Desc Main
                                                                          Document     Page 1 of 15
 Fill in this information to identify your case:

 Debtor 1                   Charles Anthony Barbettini, Jr.
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Tonia Danita Barbettini
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF VIRGINIA

 Case number           19-34680-KRH
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             302,150.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              15,057.47

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             317,207.47

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             264,140.02

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                9,280.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              96,694.58


                                                                                                                                     Your total liabilities $               370,114.60


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                5,382.11

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,546.66

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
          Case 19-34680-KRH                           Doc 14          Filed 09/25/19 Entered 09/25/19 13:50:33                         Desc Main
                                                                     Document     Page 2 of 15
 Debtor 1      Charles Anthony Barbettini, Jr.
 Debtor 2      Tonia Danita Barbettini                                                    Case number (if known) 19-34680-KRH
             the court with your other schedules.

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $           5,452.36


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $             9,280.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            89,038.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             98,318.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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                                                                     Document     Page 3 of 15
 Fill in this information to identify your case:

 Debtor 1                   Charles Anthony Barbettini, Jr.
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Tonia Danita Barbettini
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA

 Case number           19-34680-KRH
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Bridgecrest Formerly
 2.1                                              Describe the property that secures the claim:                 $14,493.00                 $6,150.00           $8,343.00
         Drivetime
         Creditor's Name                          2012 Buick Verano 114,000 miles

                                                  As of the date you file, the claim is: Check all that
         PO Box 29018                             apply.
         Phoenix, AZ 85038                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   PMSI
       community debt

 Date debt was incurred          05/10/2016                Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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 Debtor 1 Charles Anthony Barbettini, Jr.                                                                     Case number (if known)   19-34680-KRH
               First Name                  Middle Name                      Last Name
 Debtor 2 Tonia Danita Barbettini
               First Name                  Middle Name                      Last Name


         Creekwood Owners
 2.2                                                                                                                   $6,000.00        $299,900.00             $0.00
         Assocations I                              Describe the property that secures the claim:
         Creditor's Name                            7812 Little Ridge Court Chesterfield,
                                                    VA 23832 Chesterfield County
                                                    Primary Residence
                                                    Parcel ID: 762688222300000
                                                    As of the date you file, the claim is: Check all that
         4225 Ketcham Drive                         apply.
         Chesterfield, VA 23832                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Homeowners Associations Fees
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Franklin Credit
 2.3                                                                                                                        $0.00       $299,900.00             $0.00
         Management                                 Describe the property that secures the claim:
         Creditor's Name                            7812 Little Ridge Court Chesterfield,
                                                    VA 23832 Chesterfield County
                                                    Primary Residence
         PO Box 2301                                Parcel ID: 762688222300000
                                                    As of the date you file, the claim is: Check all that
         Jersey City, NJ                            apply.
         07303-2301                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 January 24,
 Date debt was incurred          2005                        Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
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 Debtor 1 Charles Anthony Barbettini, Jr.                                                                     Case number (if known)        19-34680-KRH
               First Name                  Middle Name                      Last Name
 Debtor 2 Tonia Danita Barbettini
               First Name                  Middle Name                      Last Name


         Select Portfolio Servicing
 2.4                                                                                                                $243,647.02                $299,900.00                  $0.00
         Inc                                        Describe the property that secures the claim:
         Creditor's Name                            7812 Little Ridge Court Chesterfield,
                                                    VA 23832 Chesterfield County
                                                    Primary Residence
                                                    Parcel ID: 762688222300000
                                                    As of the date you file, the claim is: Check all that
         PO Box 65350                               apply.
         Salt Lake City, UT 84165                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $264,140.02
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $264,140.02

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.4
          Shapiro & Brown, LLP
          10021 Balls Ford Rd                                                                         Last 4 digits of account number
          Suite 200
          Manassas, VA 20109




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                     Charles Anthony Barbettini, Jr.
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Tonia Danita Barbettini
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF VIRGINIA

 Case number           19-34680-KRH
 (if known)
                                                                                                                                                       Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          County of Chesterfield                                 Last 4 digits of account number                            $280.00              $280.00                 $0.00
              Priority Creditor's Name
              Treasurer - Personal Property                          When was the debt incurred?
              P.O. Box 70
              Chesterfield, VA 23832
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Tax Balance Due




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 9
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 Debtor 1 Charles Anthony Barbettini, Jr.
 Debtor 2 Tonia Danita Barbettini                                                                          Case number (if known)            19-34680-KRH

 2.2        Department of the Treasury                               Last 4 digits of account number                         $9,000.00                    $1.00             $8,999.00
            Priority Creditor's Name
            Internal Revenue Services                                When was the debt incurred?         2004, 2011
            P.O. Box 7346
            Philadelphia, PA 19101-7346
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            Tax Balance Due


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Barfish Emergency Phys LLC                                 Last 4 digits of account number        XXXX                                                        $1,534.00
            Nonpriority Creditor's Name
            7565 Dannaher Drive                                        When was the debt incurred?
            Powell, TN 37849
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   Medical Services




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 9
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 Debtor 1 Charles Anthony Barbettini, Jr.
 Debtor 2 Tonia Danita Barbettini                                                                        Case number (if known)         19-34680-KRH

 4.2      Capital One Bank USA NA                                    Last 4 digits of account number       XXXX                                                 $1,958.00
          Nonpriority Creditor's Name
          PO Box 30281                                               When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Account Balance


 4.3      Capital One Bank USA NA                                    Last 4 digits of account number       XXXX                                                   $656.00
          Nonpriority Creditor's Name
          PO Box 30281                                               When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Account Balance


 4.4      CJW Medical Center                                         Last 4 digits of account number       XXXX                                                 $1,050.00
          Nonpriority Creditor's Name
          PO Box 13620                                               When was the debt incurred?
          Richmond, VA 23225
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 3 of 9
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 Debtor 1 Charles Anthony Barbettini, Jr.
 Debtor 2 Tonia Danita Barbettini                                                                        Case number (if known)         19-34680-KRH

 4.5      Cornerstone/ Dept Of Ed.                                   Last 4 digits of account number       xxxx                                               $19,423.00
          Nonpriority Creditor's Name
          P.O. Box 145122                                            When was the debt incurred?
          Salt Lake City, UT 84114-5122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.6      County of Hanover General Dist                             Last 4 digits of account number       XXXX                                                   $636.66
          Nonpriority Creditor's Name
          7530 County Complex Rd                                     When was the debt incurred?
          Hanover, VA 23069
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Account Balance


 4.7      DMV                                                        Last 4 digits of account number       Unknown                                                $155.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                      When was the debt incurred?           Unknown
          2300 W. Broad St.
          Richmond, VA 23220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Reinstatement Fee $145.00
              Yes                                                       Other. Specify   Multiple Order Fee(s) $10.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 4 of 9
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 Debtor 1 Charles Anthony Barbettini, Jr.
 Debtor 2 Tonia Danita Barbettini                                                                        Case number (if known)         19-34680-KRH

 4.8      Elizabeth River Tunnels                                    Last 4 digits of account number       XXXX                                                   $110.30
          Nonpriority Creditor's Name
          152 Tunnel Facility Drive                                  When was the debt incurred?
          Portsmouth, VA 23707-1802
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Account Balance


 4.9      Family Practice Specialists                                Last 4 digits of account number       XXXX                                                   $114.65
          Nonpriority Creditor's Name
          Re: Bankruptcy                                             When was the debt incurred?
          3742 Winterfield Road
          Midlothian, VA 23113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.1
 0        James River Emergency Group                                Last 4 digits of account number       XXXX                                                   $909.00
          Nonpriority Creditor's Name
          ATTN # 21109M                                              When was the debt incurred?
          PO Box 14000
          Belfast, ME 04915-4033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services




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 Debtor 1 Charles Anthony Barbettini, Jr.
 Debtor 2 Tonia Danita Barbettini                                                                        Case number (if known)         19-34680-KRH

 4.1
 1        Patient First                                              Last 4 digits of account number       Unknown                                                $229.92
          Nonpriority Creditor's Name
          Attn: Patient Accounts                                     When was the debt incurred?           Unknown
          5000 Cox Road, Suite 100
          Glen Allen, VA 23060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Services


 4.1
 2        SunTrust                                                   Last 4 digits of account number       XXXX                                                   $209.05
          Nonpriority Creditor's Name
          P.O. Box 305183                                            When was the debt incurred?
          Nashville, TN 37230-5183
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Account Balance


 4.1
 3        US Dept of Edcation                                        Last 4 digits of account number       xxxx                                               $51,267.00
          Nonpriority Creditor's Name
          3130 Fairview Park Drive                                   When was the debt incurred?
          Suite 800
          Chesapeake, VA 23323
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan




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 Debtor 1 Charles Anthony Barbettini, Jr.
 Debtor 2 Tonia Danita Barbettini                                                                         Case number (if known)         19-34680-KRH

 4.1
 4         US Dept of Edcation                                       Last 4 digits of account number         xxxx                                                   $18,348.00
           Nonpriority Creditor's Name
           3130 Fairview Park Drive                                  When was the debt incurred?
           Suite 800
           Chesapeake, VA 23323
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                          Student Loan
 4.1
 5         Verizon                                                   Last 4 digits of account number         XXXX                                                         $94.00
           Nonpriority Creditor's Name
           PO Box 650584                                             When was the debt incurred?
           Dallas, TX 75265-0584
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Account Balance

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Commonwealth Finance                                          Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 245 Main St                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Scranton, PA 18519
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Convergent Outsourcing                                        Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 500 SW 7th St, Bld A 100                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Renton, WA 98055
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Debt Recovery Solutions                                       Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 6800 Jericho Turnpike                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 113E
 Syosset, NY 11791
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?


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 IC Systems Collections                                        Line 4.10 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 PO Box 64378                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55164-0378
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Internal Revenue Service                                      Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 7346                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Philadelphia, PA 19101-7346
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Internal Revenue Service                                      Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Proceedings & Insolvencies                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 21126
 Philadelphia, PA 19114-0326
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Linebarger. Goggan, Blair & Sa                                Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Re: Elizabeth River Tunnels                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 23180
 Richmond, VA 23223
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Medicredit Corporation                                        Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 1629                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Maryland Heights, MO 63043
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pendrick Capital Partners                                     Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 625 US-1                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Key West, FL 33040
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Assoc., LLC                                Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 120 Corporate Boulevard                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 100
 Norfolk, VA 23502
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                     9,280.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     9,280.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                    89,038.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                     7,656.58


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                        6j.   Total Nonpriority. Add lines 6f through 6i.                          6j.      $            96,694.58




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 Fill in this information to identify your case:

 Debtor 1                    Charles Anthony Barbettini, Jr.
                             First Name                     Middle Name             Last Name

 Debtor 2                    Tonia Danita Barbettini
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA

 Case number              19-34680-KRH
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Charles Anthony Barbettini, Jr.                                       X   /s/ Tonia Danita Barbettini
              Charles Anthony Barbettini, Jr.                                           Tonia Danita Barbettini
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       September 25, 2019                                             Date    September 25, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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